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EXHIBIT R
Case 2:08-cv-01021-PSG-RC Document 9-19 Filed 02/19/08 Page 2of11 Page ID #:307

Request for Orders to
ta kL! Stop Harassment

Bb Moh os tied
LOS ANGELES SUPERIOR COURT
Your name (person asking for protection):
Britney Jean Spears (temporary conserv. James P. Spears)
Your address (skip this if you have a lawyer): (If you want your FEB 04 2008
address to be private, give a mailing address instead): oe
JGHN A,GLARKE, Gikak

sa . i See? Ue
City: State: Zips. BY SAERE +, Gh
Your telephone number (optional): ( ) °
Your lawyer (if you have one): (Name, address, telephone

number, and State Bar number):

Fill in court name and street address:
Superior Court of California, County of

Geraldine A. Wyle (#89735) / Jeryll S. Cohen (#125392)
: F Los Angeles
Luce, Forward, Hamilton & Scripps LLP Stanley Mosk Courthouse
@) 601 S. Figueroa, 39th Floor, L.A., CA 90017 (213) 892-4992 MLN Hill St °
Name of person you want protection from: L An 1 C A 90012
Osama ("Sam") Lutfi can
; . . ae Court fills in case number when form is filed.
Describe the person: Sex: M LIF Weight: 170 pounds Case Number:
Height: 5.7" Race: Medit._ Yair Color; Black
Eye Color: Brown Age: 33 Date of Birth: 8/16/1974

Home Address (if you know): 12629 Caswell Ave., Apt. P2
City: Los Angeles

Work Address (if you know):

State; CA Zip: 90066

City: State: Zip:
(3) Besides you, who needs protection? (Family or household members)
Full Name Sex Age Lives with you? How are they related to you?
Clyes LJNo
L] Yes CJNo
[J Yes [J No
[}¥es [JNo

(] Check here if you need more Space. Attach a sheet of paper and write “CH-100, item 3—Describe Protected
Persons” at the top of the page.
(4) Why are you filing in this court? (Check all that apply):
The person in (2) lives in this county.
I was hurt (physically or emotionally) by the person in @here.
(] Other (specify):
(5) How do you know the person in)? (Describe):
Britney met Mr. Lutfi in or about October 2007. Mr. Lutfi has essentially moved into Britney's home and
has purported to take control of her life, home, and finances.

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Judicial Council of California, www.courtinfo.ca gov Da " F
Reviced July 1, 2007, Mandatory For Request for orders to Stop Harassment CH-100, Page 1 of 4

Code of Civil Procedure, §§ 527.6 and 527.9 =
American LegaiNet, inc.
www. Forms Wardiow.com

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Case Number:

Your name: Britney Jean Spears (temporary conserv. James P. Spears)

(6) Describe how the person in (2) has harassed you:

a. Date of most recent harassment: 1/29/2008
b. Who was there? Mr. Lutfi, Lynne Spears, Adnan Ghalib, Chad Hardcastle, unknown paparazzi

c. Did the person in @) commit any acts of violence or threaten to commit any acts of violence against you?

[J] Yes No

If yes, describe those acts or threats:

d. Did the person in @) engage in a course of conduct that harassed you and caused substantial emotional

distress? [¥] Yes [_] No
ifyes, describe: Mr. Lutfi drugged Britney. He has cut Britney's home phone line and removed her cell

phone chargers. He yells at her. He claims to control everything -- Britney's business manager, her
attorneys, and the security guards at the gate. See Declaration of Lynne Spears attached hereto.

e. Did the conduct of the person in @) described above seriously alarm, annoy, or harass you? [¥] Yes [] No

[) Check here if you need more space. Attach a sheet of. Paper and write “CH-100, item 6— Describe
Harassment” at the top of the page.

Check the orders you want 4

(7) Personal Conduct Orders
| ask the court to order the person in @ to not do the following things to me or anyone listed in @):

a. Harass, attack, strike, threaten, assault (sexually or otherwise), hit, follow, stalk, destroy personal
property, keep under surveillance, or block movements.
b, WJ Contact (either directly or indirectly), or telephone, or send messages or mail or e-mail.

The person in @) will also be ordered not to take any action to get the addresses or locations of any protected
persons, their family members, or their caretakers unless the court finds good cause not to make the order.

Stay-Away Orders
I ask the court to order the person in @) to stay at least (specify): 250 __ yards away from me
and the people listed in@ and the places listed below: (Check all that apply):
a. My home d. iv} My vehicle
b. l¥] My job or workplace e. J Other (specify): UCLA Medical Center, parents' homes,
c. l¥] My children’s school or child care siblings' homes, childrens' homes, Britney's homes

If the court orders the person in (2) to stay away from all the places listed above, will that person
still be able to get to his or her home, school, or job? ¥] Yes [] No

ifno, explain:

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~ GH-100, Page > ofa

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(Civil Harassment) >

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Case Number:

Your name: Britney Jean Spears (temporary conserv. James P. Spears)

(9) [.] Others to Be Protected
Should the other people listed in @) also be covered by the orders described above?

[] Yes [] No Does not apply
If yes, explain:

Order About Guns or Other Firearms

] ask the court to order the person in (2) to be prohibited from owning, possessing, purchasing, or receiving, or
attempting to purchase or receive firearms and to sell or turn in any guns or firearms that he or she controls.

(.] Other Orders
| ask the court to order the person in) to (specify):

(12) Temporary Orders

Do you want the court to make orders now on the matters listed in ®, through @) that will last until the

hearing? [Y] Yes [] No
If yes, explain why you need these orders right now: Immediate relief is necessary to avoid the risk of

physical harm to Britney by Mr. Lutfi and to allow her to undergo necessary medical treatment
without interference by Mr. Lutfi.

CL] Check here if you need more space. Attach a sheet of paper and write “CH-100, item 1 2—Temporary
Orders” at the top of the page.

(43) Delivery of Orders to Law Enforcement
My lawyer or I will give copies of the orders to the following law enforcement agencies:
a. Name of Agency: Los Angeles Police Department .

Address: 150 N. Los Angeles Street
City:Los Angeles State: CA Zip: 90012

b. Name of Agency: Beverly Hills Police Department
Address: 464 .N. Rexford Drive

City: Beverly Hills State:
Other Court Cases

Have you ever asked any court for other restraining orders against the person in@)? Yes [LINo
If yes, specify the counties and case numbers if you know them: Not known

CA Zip: 90210

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(Civil Harassment)
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Case Number:

Your name: Britney Jean Spears (temporary conserv. James P. Spears)

(45) [_} Time for Service

You must have your papers personally served on (notify) the person in @) at least 5 days before the hearing,
unless the court orders a different time for service. (Form CH-135 explains “What Is Proof of Service?” Form
CH-130 may be used to show the court that the papers have been served.) If your papers cannot be served at

least 5 days before the hearing and you need more time, explain why:

(16) [J No Fee for Filing
I ask the court to waive the filing fee because the person in@) has used or threatened to use violence against

me, has stalked me, or has acted or spoken in some other way that makes me reasonably fear violence. I am
asking for a restraining order to stop this conduct.

a7) [] No Fee to Serve Orders
| ask the court to order the sheriff or marshal to serve (notify) the person in (2) about the orders for free because:
a. CJ My request for orders is based on stalking; or
b. My request for orders is based on a credible threat of violence; or

c. () Iam entitled to a fee waiver.
(If you are requesting free service of the orders based on a Jee waiver, you must complete and file the

Application for Waiver of Court Fees and Costs (Form FW-001).)
[_] Lawyer’s Fees and Costs

I ask the court to order payment of my:

a. CJ] Lawyer’s fees
b. {] Out-of-pocket expenses

The amounts requested are:

Item 5 Amount Item Amount
$
§ $
§ $

[_] Check here ifyou need more Space. Attach a sheet of paper and write “CH-100, item 1 &—Lawyer's Fees and

Costs” at the top of the page.
Additional Relief
Task the court for additional relief as may be proper.
Number of pages attached to this form, if any: 6
Date: 2/1/2008

Geraldine A. Wyle >
Lawyer ’s name
I declare under penalty of perjury under the laws of the State of California that the information above and on

all attachments is true and correct.

Lawyer's signature

>

Sign your name
UUM ile) e-merel tig elas (-1 a

James P. Spears, temporary conservator
Type or print your name

cemeeaea Request for Orders to Stop Harassment ~ CHT00, Page FoF
(Civil Harassment)
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DECLARATION OF LYNNE SPEARS

I, LYNNE SPEARS, declare:

I. I am the mother of Britney Spears (“Britney”), who is the subject of this action. |
have personal knowledge of each of the facts set forth in this Declaration, and can testify
competently thereto, except as to the matters stated on information and belief, and as to such
matters I believe them to be true.

2. This past Monday night (January 28), Britney’s father, Jamie, and ] (in separate
cars) went to Britney’s house in Beverly Hills because we had heard news reports that Britney
had just been in a big fight with Osama Lufti aka Sam Lufti (“Sam”), the man who has inserted
himself into my daughter’s life, home, and finances, and that she was crying. We were very

concerned about her safety. We arrived at the Summit Community gatehouse in BHPO at

approximately 10 p.m. I was with my friend, Jackie.

3, The guards at the gatehouse stopped us there for awhile. Jackie, J amie, and |
finally proceeded to Britney’s house and entered it. We were able to enter the house because it
was not locked. Britney does not lock her doors and currently there are no security guards
around her residence. Britney was not home. We found Sam, and Sam said as we walked in the
door that Britney only wanted me to come to the house, and that she was afraid to see her dad.

4. Two or three paparazzi came into the house and entered the kitchen. They
greeted Sam. The paparazzi then reported to Sam where Britney currently was. From the
conversation between Sam and the paparazzi I determined that Sam had given Felipe (another
paparazzi) one of Britney’s cars to get her out of the house when he heard that Jamie and I were
on our way to see Britney. I also understood from the conversation that Sam disabled all of
Britney’s cars (she has several at her residence).

5. Sam had told Britney that Jamie and I were coming to the house to do an
intervention, and that Britney panicked and took off with Felipe. Another man named Chad
Hardcastle was in the house.

6. I also heard during the evening that during Britney’s and Sam’s fight that evening,

Sam had told Britney that she was an unfit mother, a piece of trash and a whore, that she cares
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DECLARATION OF LYNNE SPEARS

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more about Adnan, her current boyfriend, than she cares about her kids, and that she does not
deserve her kids.

7. The paparazzi reported to Sam and addressed him with great respect. They
treated him like a general. He instructed them to get her back to the house. They later told Sam
that Britney was on her way back.

8. Britney then came back to the house with Adnan, who is also a paparazzi. Sam
then told Jackie and me that we needed to do whatever he tells us. I objected. He then told me,
“Pm the one who spends 24/7 with your daughter. I sleep in cars outside her house so she can’t
leave.” Sam then said, “You people throw everyone under the bus, if you don’t listen to me I’m
going to make your name sh** in the papers.”

9, As I looked around the kitchen, I noticed that in the middle of the kitchen table
there was a large car battery. At some point during the evening I learned that the car battery was
there so Sam could charge his cell phone. Although Britney has several cell phones, he told us
that he had disposed of all of the phone chargers and had made the house phones unworkable.

10. Sam told Jackie and me to tell Adnan to leave Britney alone and to get the F***
out of the house. Jackie refused. Sam then said to tell Britney that Adnan is gay. Adnan stayed
at the house a little while longer. Sam quietly said something to Adnan and Adnan promptly left
the house.

11. Britney came into the room looking for Adnan. Sam told her that Adnan was in
the bathroom. Britney then asked me, “Is Adnan gay?” While Britney was out of earshot, Sam
told Jackie and me that we should pretend that Adnan was in the bathroom so Britney wouldn’t
leave.

12. Britney then became very agitated and could not stop moving. She cleaned the
house. She changed her clothes many times. She also changed her three dogs’ clothes many
times. Britney spoke to me in a tone and with the level of understanding of a very young girl.
Britney then picked up a bottle of pills and read part of the label and asked us, “What does

insomnia mean?” Sam told her that the pills will help her stay awake.

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DECLARATION OF LYNNE SPEARS

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13. Sam told Jackie and me that he grinds up Britney’s pills, which were on the
counter and included Risperdol and Seroquel. He told us that he puts them in her food and that
that was the reason she had been quiet for the last three days (she had been sleeping). He told us
that the doctor who is treating her now is trying to get her into a sleep-induced coma so that they
could then give her drugs to heal her brain.

14. Sam then encouraged us to sit down on a sofa and to do “tequila shots.” Jackie
and I said we did not want to. Britney seemed to follow our lead. Sam then got some wine out
and said “let’s all do toasts with wine.” Britney said that she didn’t want to, she wanted a pretty
glass. Sam found a glass with a stem and poured wine for Britney when we were not looking.
Britney refused to drink her wine and asked to drink mine.

15, Shortly afterward, Sam went back into the kitchen and was standing behind a
raised bar so that we could not see what his hands were doing on the counter. From what I could
see, it looked like he was crushing something on the counter. Sam then said to Britney, “Let’s
go upstairs” and Britney followed him. Britney had calmed down by the time she went upstairs.

16. A little while later, Britney came downstairs. She seemed agitated again and told
us that she wanted to go to Rite Aid for lipsticks. It was now past midnight. Jackie and I said we
would take her. Sam told us that he wanted to follow us in his car. We told him that he
shouldn’t because the paparazzi were in front of the neighbor’s house and would harass us. As
we were about to drive off, Sam jumped into the back seat of the car. The paparazzi followed.
Sam and I were sitting in the back seat, with Chad as well. He told me that he gave Britney
something (when they were upstairs) to make her more light-hearted, happy, and fun. We
entered Rite Aid and Britney chose her lipstick. The manager said it is dangerous out there,
which it was. When Britney gave the cashier her credit card, the cashier told her it was not
working. I paid for the lipstick and the manager told us we could leave through the side door so
no one could see us. Sam insisted we leave through the front door and he put his arms around

Britney and me for the paparazzi to take pictures. I disengaged as quickly as I could.

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DECLARATION OF LYNNE SPEARS

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17, Sam told me, “You'd better learn that I control everything. I control Howard
Grossman, Britney’s business manager. | control her attorneys and the security guards at the
gate. They don’t listen to Britney, they listen to me. That’s why Jamie was gone tonight.”

18. At another point that evening, Sam bragged to me that he is the one who receives
Britney’s checks and that one of them was for me. | told Sam that I hadn’t gotten any checks
from Britney. Sam then told me that they are in his car. He told me that if he weren’t in the
house to give Britney her medicine, she would kill herself. Then he said to me, “If you try to get
rid of me, she’ll be dead and [’ll piss on her grave.”

19, He then proclaimed that he has been in the family for a year and that he has done
nothing but good for Britney. At this point it was two or three in the morning. Britney was
meandering around the house. She would let me hug her, but she was out of it.

20. At one point during the night, Sam was screaming at me and Britney said to me,
“Sam treats me like that.” Then she picked up the house phone and said, “Look at the phone, it
doesn’t work.” Sam then blamed the dead phone on Britney. Jackie spoke up and said to Sam,
“You said you cut the phone wire.”

21. Britney then said again at some point during the night, “When do | get to see my
babies?” Sam answered, “Wednesday.” Britney then said, “What do I have to do to see them?”
Sam responded, “Take the pills I tell you to take.” Britney said, “I don’t like the pills and I don’t
like the psychiatrist. Can’t I see another psychiatrist so I can see my babies?” Sam responded,
“If I told you to take 10 pills a day, you should do what I tell you to see your babies.” Jackie
then said, “Britney, your parents can help you find a psychiatrist. The psychiatrist needs to get to
know you to give you the right medicine.” Sam then raised his voice and said, “Why don’t you
get back with Kevin.”

22. _ Britney then said, “I’ll do anything to get them back.”

23. At some point during the evening, Sam said that Britney decided that he should be
her manager.

24. Adnan has called me and told me he’s worried about Britney. He told me that

Sam hides the phones and tells her he has lost them. He also hides her dog, London. She looks
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DECLARATION OF LYNNE SPEARS

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for him all over the house crying and then Sam brings out the dog from the hiding place and acts
like her savior.

25, While we were at Rite Aid, Britney went in and out of her British accent.

26. At 4:00 a.m., I was exhausted and wanted to leave. Sam blocked my car so |
could not leave. I threatened to call Jamie to the house.

27. Britney said, “I want my Daddy up here. I want to talk to my Daddy.” I reached
Jamie on the phone and gave the phone to Britney. I heard her tell him that she wanted to see
him. He said, “Right now baby?” and she said, “No.” He said, “10:00 in the morning?” And
she said, “No, noon.”

28. I spent the rest of the night at Britney’s house and for the first time in a very long
time, when I lay down to sleep, I felt very agitated. I could not fall asleep at all. I felt like I had

had coffee. Jackie, who had gone home earlier, later told me that she also could not sleep at all

and felt like she had had coffee.

29. Jamie came to pick me up the next morning. Jamie gave Britney a bi g hug and

said to her, “Baby, you’re ok?” Britney said, “I’m fine,” then burst into tears.

30. To my knowledge, Britney never went to sleep that night and was very agitated

most of the night.

31. Sam and Chad, however, slept in the “smoking room,” a small room downstairs
on the first floor of the house.

32. Later the next day, on January 29, Jackie showed me a text message she had
received from Sam: “Thanks for telling Jamie all your Bull Sh*t. He just hit me. Now you guys
did your deed. Much accomplished. Good job.”

33. I did not see Britney again until I arrived at her house on Wednesday night after
Sam called me and told me to come to the house. When we arrived, Britney seemed subdued.

The police arrived and took her to the Neuro Psychiatric Institute at UCLA (“NPI”). While at

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DECLARATION OF LYNNE SPEARS

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NPI, | learned that Britney informed her doctor, Lee Sadja, MD, that she had also taken Aderol,
I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct. Executed on J anuary 31, 2008, at Los Angeles, California.

Lynrle Spears

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DECLARATION OF LYNNE SPEARS

